Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                  Page:1 of 31


                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

     IN RE:
                                                    CHAPTER 13
     Brandon Craig Adams,                           CASE NO.: 22-10386-SDB
           Debtor.


     NewRez LLC d/b/a Shellpoint
     Mortgage Servicing,
                           Movant,
     v.
                                                    CONTESTED MATTER
     Brandon Craig Adams,
           Debtor,
     Huon Le,
           Trustee,
                               Respondents.

                MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           COMES NOW, NewRez LLC d/b/a Shellpoint Mortgage Servicing, (the

    “Movant”), by and through its undersigned counsel, moves for relief from the

    automatic stay and alleges as follows:

                                               1.

           The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP

    4001(a), and the various other applicable provisions of the United States Bankruptcy

    Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of

    America.

                                               2.

           Brandon Craig Adams (the “Debtor”), filed a petition for relief under Chapter 13

    of the Bankruptcy Code on June 03, 2022.
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                         Page:2 of 31


                                                   3.

            Movant is the holder or servicer of a loan secured by certain real property in

    which the Debtor has an interest. Movant holds a security interest in the Debtor’s real

    property now or formerly known as 4328 Seago Road, Hephzibah, Georgia 30815 (the

    “Property”) by virtue of a Security Deed dated June 10, 2016. Said Security Deed

    secures a Note in the original principal amount of $133,489.00. The promissory note has

    been duly endorsed. Shellpoint Mortgage Servicing services the underlying mortgage

    loan and note for the property referenced in this Motion for (the "noteholder")

    and is entitled to proceed accordingly. Should the Automatic Stay be lifted and/or set

    aside by Order of this Court or if this case is dismissed or if the Debtor obtains a

    discharge and a foreclosure action is commenced or recommenced, said foreclosure

    action will be conducted in the name of the noteholder

                                                   4.

            Movant alleges that the Debtor is in default to Movant under the terms of the loan

    documents, having failed to make certain post-petition mortgage payments that have

    come due. As of September 13, 2022, the post-petition arrearage owed to Movant is

    $3,017.49 and consists of three (03) monthly mortgage payments at $1,005.83, less a

    suspense balance of $0.00. An additional payment will come due October 01, 2022 and

    on the first day of each month thereafter until the loan is paid in full.

                                                   5.

            Movant further alleges there appears to be no equity in the Property; therefore, the

    Property is not necessary for effective reorganization. The current unpaid principal

    balance due under the loan documents is approximately $117,499.13. The Property is
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                      Page:3 of 31


    most recently valued at $144,502.00 by the Richmond County Tax Assessor’s Office.

                                                 6.

           Movant’s security interest in the Property is not adequately protected due to the

    Debtor’s failure to maintain the mortgage payments.

                                                 7.

           Movant has incurred attorney’s fees and costs as a result of filing this motion.

    These fees and costs are recoverable pursuant to the loan documents, and Movant seeks

    leave to recover these fees and costs under the remedies available therein.

                                                 8.

           Pursuant to 11 U.S.C. § 362, Movant alleges that sufficient cause, including lack

    of adequate protection, exists for the automatic stay to be terminated.



           WHEREFORE, Movant respectfully prays to the Court as follows:

                   (a) That the automatic stay under 11 U.S.C. § 362 be modified to allow

                           Movant to pursue state remedies to protect its security interest in

                           the Property, including, but not limited to, advertising to effectuate

                           a foreclosure sale and gaining possession of the Property; to

                           contact the Debtor via telephone or written correspondence to

                           discuss potential loan workout or loss mitigation opportunities; and

                           to perform property preservation as appropriate;

                   (b) That Movant's attorney's fees and costs incurred in filing and

                           prosecuting this Motion be recoverable as pursuant to the loan

                           documents and remedies available therein;

                   (c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                   Page:4 of 31


                        waived;

                 (d) That Movant be permitted to offer and provide Debtor(s) with

                        information regarding a potential forbearance agreement, loan

                        modification, refinance agreement, or other loan workout/loss

                        mitigation agreement, and to enter into such an agreement with

                        Debtor(s).

                 (e) That in the event of an Order granting relief from the automatic stay

                        and said Order also instructing the Chapter 13 Trustee to cease

                        disbursements on Movant’s Proof of Claim, Fed. R. Bank. P.

                        3002.1 shall no longer apply as to Movant, as said Rule only

                        applies in Chapter 13 cases in which claims secured by a principal

                        residence are provided for under Section 1322(b)(5) of the Code in

                        the Chapter 13 Plan; and

                 (f) For such other and further relief the Court deems just and proper.

    Date: September 19, 2022
                                               Robertson, Anschutz, Schneid, Crane
                                               & Partners, PLLC

                                               /s/ Andrea L. Betts
                                               Andrea L. Betts
                                               Georgia Bar # 432863
                                               10700 Abbott's Bridge Road, Suite 170
                                               Duluth, GA 30097
                                               Telephone: 470-321-7112
                                               Fax: 404-393-1425
                                               Email: abetts@raslg.com
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:5 of 31




           Supporting Documents
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:6 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:7 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:8 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:9 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:10 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:11 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:12 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:13 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:14 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:15 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:16 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:17 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:18 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:19 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:20 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:21 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:22 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:23 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:24 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:25 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:26 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:27 of 31
Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47   Page:28 of 31
9/14/22, 4:21 PM                                                           qPublic.net - Richmond County, GA - Report: 2540033010
        Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                                                                      Page:29 of 31
                                             Richmond County, GA

      Summary
        Parcel Number      2540033010
        Location           4328 SEAGO RD
        Address
        Legal              GEORGIA SOUTHERN LUMBER INC (0000T) B29-R
        Description        (Note: (Note: Not to be used on legal documents.))
        Class              R3 - Residential Lots
                           (Note: (Note: This is for tax purposes only. Not to be used for
                           zoning.))
        Tax District       (002) RICHMOND COUNTY
        Millage Rate       31.046
        Acres              2
        Neighborhood       8E3619 - 8E3619 GEORGIA SOUTHERN LUMBER
        Homestead          No -
        Code
        Topography         ROLLING




        View Map

      Owner
        Primary Owner
        ADAMS BRANDON C
        4328 SEAGO RD
        HEPHZIBAH, GA 30815

      Land
         Description                           Calculation Method                                  Square Footage                   Frontage            Depth
         3619 -R00 -AC                         ACREAGE                                             87120                            150                 578


      Residential Improvement Information
        Card                         1
        Style                        One Family
        Heated Square Feet           1658
        Exterior Wall                BRICK VENEER (FACE)
        Attic Square Feet            0
        Finished Bsmt Sqft           0
        Total Bsmt Sqft              0
        Year Built                   1995
        Roof Type                    Asphalt/Fiberglass
        Flooring Type                Carpet & Pad
        Heating Type                 CENT HEAT/AC
        Number of Rooms              5
        Number of Bedrooms           3
        Number of Full Bathrooms     2
        Number of Half Bathrooms     0
        Condition                    GOOD
        Fireplaces\Appliances        1 Sty Prefab, Mtl

      Accessory Information
       Card 1
         Description                                                                                       Year Built      Units               Area               Value
         STORAGE/RESIDENTIAL                                                                                   1998           1                324               $3,362
         CARPORT/ALUM/STEEL                                                                                    1995           1                400               $2,380
         CARPORT/ALUM/STEEL                                                                                    1995           1                480               $2,856



      Sales
                       Deed            Plat                   Sale
         Sale Date     Book/Page       Book/Page             Price Reason                    Grantor                               Grantee
         4/15/2011 1299 1641           2 104             $143,900 FAIR MARKET                LOCKAMY CLARENCE J JR ROFS            ADAMS BRANDON C
                                                                  VALUE
         2/1/2006      1042 1399       2 104                    $0 QUIT CLAIM DEED           LOCKAMY CLARENCE J JR                 LOCKAMY CLARENCE J JR ROFS
         2/1/2006      1042 1397       2 104             $139,900 FAIR MARKET                BECKETT STEPHEN C                     LOCKAMY CLARENCE J JR
                                                                  VALUE
         4/18/1996 A1 5050                                      $0 NON-MARKET                BECKETT STEPHEN C & BECKETT           BECKETT STEPHEN C & BECKETT
                                                                                             DEBORAH C                             DEBORAH C
         6/20/1995 493 1825                                     $0 NON-MARKET                KENNETH SMITH HOMEBUILDERS INC        BECKETT STEPHEN C BECKETT DEBORAH
                                                                                                                                   C




https://qpublic.schneidercorp.com/Application.aspx?AppID=678&LayerID=11365&PageTypeID=4&PageID=11827&Q=98179150&KeyValue=25400330…                                        1/3
9/14/22, 4:21 PM                                                   qPublic.net - Richmond County, GA - Report: 2540033010
        Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                                                  Page:30 of 31
      Valuation (Appraised 100%)
                                                                                                              Appraised             Total
                                                                                         Appraised             Building           Appraised
               Year                    Property Class               LUC                    Land                 Value               Value
              2022                          R3                       007                  $9,000              $135,502             $144,502


                                                                       Show Historical Appraised Values

      Valuation (Assessed 40%)
                                                                                                   Assessed                  Total
                                                        Assessed                                   Building                 Assessed
                      Year                                Land                                      Value                    Value
                      2022                              $3,600                                     $54,201                   $57,801


                                                                        Show Historical Assessed Values

      Assessment Notices
        2021 Assessment Notice (PDF)
        2022 Assessment Notice (PDF)

      Photos




      Sketches




https://qpublic.schneidercorp.com/Application.aspx?AppID=678&LayerID=11365&PageTypeID=4&PageID=11827&Q=98179150&KeyValue=25400330…            2/3
9/14/22, 4:21 PM                                                         qPublic.net - Richmond County, GA - Report: 2540033010
         Case:22-10386-SDB Doc#:24 Filed:09/19/22 Entered:09/19/22 13:23:47                                                                             Page:31 of 31
      No data available for the following modules: Summary - Personal Property, Commercial Improvement Information, Mobile Homes, Prebill Mobile Homes, Appraised Values -
      Personal Property.

     The data contained on this site is intended for information purposes only. It is based on the best information available at the time of posting       Developed by
     and is not warranted. The data may not re ect the most current records.




                                               fl
     User Privacy Policy
     GDPR Privacy Notice

     Last Data Upload: 9/14/2022, 1:05:12 PM                                                                                          Version 2.3.220




https://qpublic.schneidercorp.com/Application.aspx?AppID=678&LayerID=11365&PageTypeID=4&PageID=11827&Q=98179150&KeyValue=25400330…                                           3/3
